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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA
v. Case No. 8:18-cr-234-T-35SPF
ALLAN BURT GUINTO
/

 

REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

The Defendant, by consent, appeared before me pursuant to Fed. R. Crim. P. 11 and
Local Rule 6.01(c)(12) and pleaded guilty to Counts ONE (Iss), TWO (2ss) and EIGHT
(8ss) of the Second Superseding Indictment. After cautioning and examining the Defendant
as mandated by Rule 11, I have determined that the guilty plea is knowledgeable, voluntary,
and supported by a factual basis. I therefore recommend that the plea of guilty be accepted
and that the Defendant be adjudged guilty and have sentence imposed accordingly.

IT IS SO REPORTED AND RECOMMENDED at Tampa, Florida on January 17, 2019.

ZA.
SEAN P. FLYNN
UNITED STATES MAGISTRATE JUDGE

NOTICE

A party has fourteen (14) days from this date to file written objections to the Report and
Recommendation’s factual findings and legal conclusions. A party’s failure to file written
objections waives that party’s right to challenge on appeal any unobjected-to factual finding or
legal conclusion the district judge adopts from the Report and Recommendation. See 11"

Cir. R. 3-1.
